  Case 1:18-cv-09422-NLH Document 9 Filed 04/20/20 Page 1 of 2 PageID: 144



                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


   ABDIEL F. AVILA,                        1:18-cv-9422 (NLH)

                  Petitioner,              MEMORANDUM OPINION & ORDER

         v.

   ADMINISTRATOR STEVE JOHNSON,

                  Respondent.


APPEARANCES:

Abdiel F. Avila
788891C
New Jersey State Prison
PO Box 861
Trenton, NJ 08625

     Petitioner pro se


HILLMAN, District Judge

     WHEREAS, on April 6, 2020, the Court administratively

terminated Petitioner Abdiel F. Avila’s petition for writ of

habeas corpus under 28 U.S.C. § 2254 because it did not comply

with the Rules Governing Habeas Proceedings, see ECF No. 7; and

     WHEREAS, Petitioner now asks the Court for an extension of

time to resubmit his arguments to the Court, see ECF No. 8; and

     THEREFORE, IT IS on this       20th       day of April, 2020

     ORDERED that Petitioner motion for an extension of time,

ECF No. 8, is granted.     Petitioner must submit his documents by
  Case 1:18-cv-09422-NLH Document 9 Filed 04/20/20 Page 2 of 2 PageID: 145



July 6, 2020; and it is finally

     ORDERED that the Clerk shall serve a copy of this Order

upon Petitioner by regular mail.


                                           s/ Noel L. Hillman
At Camden, New Jersey                    NOEL L. HILLMAN, U.S.D.J.




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